         Case 8:05-cr-00496-SDM-MSS Document 124 Filed 08/08/07 Page 1 of 3 PageID 591
A 0 24SE (Rev 12/03) Sheet 1 - Judgment in a Criminal Case for Organizational Defendants



                                  UNITED STA TES DISTRICT COURT
                                                           MIDDLE DISTRICT OF FLORIDA
                                                                TAMPA DIVISlON



UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
                                                                           (For Organizational Defendants)

                                                                           CASE NUMBER:        8:05-cr-496-T-23h4SS




LIKO, INC.
                                                                           Defendant Organization's Attorney: Peter Ball, ret


The organizational defendant was found guilty on Counts One and Two after a plea of not guilty.
The organizational defendant is adjudicated guilty of these offenses :

TITLE & SECTION                            NATURE OF OFFENSE                                OFFENSE ENDED                       COUNT

I8 U.S.C. 5; 371                           Conspiracy to Defraud the United States          January 2001                        ONE

41 U.S.C. 5 53(1)                          Providing a Kickback                             January 25, 2001                    TWO



The defendant is sentenced as provided in pages 2 through 3 of this judgment.


IT IS FURTHER ORDERED that thc clefendant organization musl notify the United States attorney for this district within 30 days
of any change of name, principal busi~lessaddress, or mailing address until all fines, rest it11lion, costs, and special assessments
imposed by this judgment are fully paid. Il' ordered to pay restitution, the defendant organization must notify the court and United
States attorney of material changes in economic circu~nstances.



Defendant Organization' s
Federal Employer 1.D. No.           XX-XXXXXXX

D e f ndmt Organization's Principal Business Address:

Legal Address:
4073 Shell Road                                                                             Date of Inlposiiion of Sentence: August 6, 2007
Sarasota, FL 342442

Defendant Organization's Mailing Address:

See above


                                                                                                 STEVEN D. MERRYDAY
                                                                                            UNITED STATES DISTRICT JCBGE

                                                                                            DATE: August       f l . 2007
         Case 8:05-cr-00496-SDM-MSS Document 124 Filed 08/08/07 Page 2 of 3 PageID 592
A 0 215E rKrv 12/03) Sheet 5 - Criminal hdlonetasy Penalties (Judgment in a Criminal Case li~rOrganizational Defendants)

Defendant:            LIKO, INC.                                                                                           Judgment - Page 2of 3
Case No. :            8:05-cr-496-T-23MSS

                                                  CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessnlent                                 -
                                                                             Fine                             Total Restitution

           Totals:               $800.00                                     $59,666.67                       $


           The determination of restitution is deferred until                    . An Amemfed Jzidgruerzt in a Crinlinal Case ( A 0 245C) will be
           entered after such determination.
-          The defendant must make restinltion (including cominunity restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approxi~natelyproportioned payment, unless
           specified otherwise in the priority order or percentage pa ment colunln below. However, pursuant to 18 U.S.C. 5
           3664(i). all non-federal victims must be paid before the dnired States.


Name of Payee                                          Total Loss*                      Restitution Ordered                      Prioritv or Percentape




                                 Totals:               L.-                              L

 -           Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U. S. C. 5 36 12(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                   - restitution.
           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for [he offenses
committed on or after September 13, 1994, but before April 23, 1996.
        Case 8:05-cr-00496-SDM-MSS Document 124 Filed 08/08/07 Page 3 of 3 PageID 593
A 0 245E (Rev 12/03) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case far Organizational Defendants)

Defendant:            LIKO, INC.                                                                                  Judgment - Page 3 of 3
Case No.:             8:05-cr-496-T-23MSS



                                                           SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, paymen1 of Lhe total criminal monetary penalties are due as follows:

             X        Lump sum payment of $ 800.00 (special assessment) due i~nnlediately:and
                      Lump sum payment of $59.666.67 (fine) due immediate1                         r.

                      for a total lump sum p a y m 6 0 . 4 6 6 . 6 7 , clue immeckately
                                 -not later chan                          , Or
                                 - in accordance - C, - Dl - E or - F below: or
           -          Payment to begin immediately (may be combined with -C . -D, or -F below): or
           -          Payment in equal                  (e.g., weekly, monthly, quarterly) install~nentsof S             over a
                      period of          (e .g., months or years), to commence              days (e.g., 30 or 60 days) after the
                      date of this judgment; or
           -          Payment in equal                ( e . ~, .weekly, monthly, quarterly) installments of $             over a
                      period of             , (e.g., mont 1s or years) to con~nlence                   (e.g. 30 or 60 days) after
                      release from imprisonment to a term of supervision; or
           -          Payment during the term of supervised release will commence within                          (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
           -          Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
bureau of Prisons1 11llnate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
